Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 1 of 45 Page ID #:1



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  3 Telephone: (562) 436-3946
    Facsimile: {562) 495-0564
  4 dclassen@pdalaw.com
      TARG-0490
  5
      Attorneys for Defendant,
  6   TARGET CORPORATION
  7

  8
                       UNITED STATES DISTRICT COURT
  9          CENTRAL DISTRICT OF CALIFORNIA- WESTERN DIVISION
 10
      KARLA CASTANEDA,                          CASE NO.:
 11
                          PLAINTIFF,            NOTICE OF REMOVAL OF
 12                                             ACTION UNDER 28 U.S.C. §1441(b)
              vs.                               [DIVERSITY]
 13
      TARGET CORPORATION, DOES 1 -
 14   50,
 15                       DEFENDANT.
 16
              TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 17

 18           PLEASE TAKE NOTICE that Defendant TARGET CORPORATION,
 19
      (hereinafter "Defendant" or "TARGET"), hereby removes to this Court the state
 20
      court action described below.
 21

 22           1.    On or about January 6, 2021, an action was commenced in the Los
 23
      Angeles County Superior Court, entitled KARLA CASTENADA v. TARGET
 24
      CORPORATION, Case Number 21STCV00470. A copy ofthe Complaint is
 25
 26 attached hereto as Exhibit "A."
 27
      Ill
 28

                                                 NOTICE OF REMOVAL OF ACTION UNDER 28
                                                 U.S.C.§l44l(b) [DIVERSITY)
Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 2 of 45 Page ID #:2




   1
             2.       The first date upon which TARGET received a copy of said Complaint

   2 was February 11, 2021, when Defendant was served with a copy of the Complaint
   3
       and a summons from the State Court. A copy of the summons is attached hereto as
   4

   5
       Exhibit "B."

   6         3.       Defendant filed its State Court Answer on March 12, 2021, which is
   7
       attached as Exhibit "C."
   8

   9
             4.       Plaintiff, Karla Castaneda, served responses to Defendant's discovery

  10 by electronic mail on April12, 2021.
  11
             5.       This action is a civil action of which this Court has original jurisdiction
  12
       under 28 U.S. C. § 1332, and is one which may be removed to this Court by
  13
       Defendant pursuant to the provisions of28 U.S.C. §§ 1441(b) and 1446(b), in that it
  14
       is a civil action between citizens of different states and the matter in controversy
  15
       exceeds the sum of $75,000, exclusive of interest and costs. Based upon Plaintiff's
  16
       responses to discovery, received on Aprill2, 2021, in Response to Form
  17
       Interrogatory No. 6.4, Plaintiffs medical specials alone total $69,976. Attached
  18
       please find Defendant's Form Interrogatories and Plaintiffs Responses to Form
  19
       Interrogatories as Exhibits "D" and "E", respectively.
  20
             6.       Plaintiff, KARLA CASTANEDA, was and is a citizen of the State of
  21
       California, and Target was and is a citizen of the State of Minnesota, where it is
  22
       incorporated and where its principal place of business and nerve center are located.
  23
       Ill
  24
       Ill
  25
       Ill
  26
       Ill
  27
       Ill
  28
                                                    2
                                                        NOTICE OF REMOVAL OF ACTION UNDER 28
                                                        U.S.C.§l44l(b) [DIVERSITY]
Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 3 of 45 Page ID #:3



             7.    TARGET is the only named Defendant in this action, and is the only
   I
       Defendant that has been served summons and complaint in this action.
   2
   3

   4
       DATED: May 7, 2021                   PRINDLE GOETZ BARNES
   5                                        & REINHOLTZ, LLP
   6
   7
   8                                        R. Derek Classen
                                            Attorneys for Defendant
   9                                        TARGET CORPORATION
  10
  11

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                                               3
                                                   NOTICE OF REMOVAL OF ACTION UNDER 28
                                                   U.S.C.§l44l(b) [DIVERSITY)
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                       EXHIBIT ''A''
              Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 5 of 45 Page ID #:5
Eleclronie;ally FilED by Superior Court of California, County of los Angeles on 01/06/2021 04:31 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton, Deputy Clerk
          '                                                                                    21STCV00470
                                            Assigned for ali purposes to: Spring Street Courthouse, Judicial Officer: Kristin Escalante


                                                                                                                                                                    PLD-PI-1101
               2~EY OR PARTY WTHOUT ATTORNEY (Nam11,           S1utv Bot numbot, (JJid BddroiJ$}:                                              FOR COUR1" USE OHL t'
                    Kyle Madison Esq: 198484
                    Madison Law Group .
                    11111 Santa Monica Boulevard, Suite 100
                    Los Angeles, California 90025
                           TWPKQHENQ,            310-201-7676                    '""""·"""'""'' 310-744-0111
                 •....,,AD""'ss """"""'  kyle@lmadlsonlawgroup.com
                    mooNEY •o• ,....,.,, Karla Castaneda
                SUPERIOR COURT OF CAUFORNIA, COUNTY OF Los Angeles
                     sTREET AOORE""' 312 N. Spring Street
                        t.!AIUNG ADDRESS:
                        CffYANDZIPCODE: Los Angeles, CA 900 12
                                        Spring Street Courthouse
                            BR.AHCH NAME:
                             PLAINTIFF: Karla Castaneda
                                                      '
                           DEFENDANT: TARGET CORPORATION

                GO.OOESITD               50
                COMPLAINT-Personal Injury, Property Damage, Wrongful Death
                     0 AMENDED (Numbeq:
                Type (check all that apply}:
                c:J MOTOR VEHICLE 0 OTHER (speclfyJi
                     D PFOperty Damage 0 WFOngful Death                                                                                                                                  ,   ..
                     GO Peraonallnjury            0 Other Damages (specify):
                Jurisdiction (chei:k all that apply}:                       •..                                                  CAS£N\mB~;

                c:J ACTION IS A LIMITED CIVIL CASE                 ..
                     Amoum demanded 0              does not exceed $10,0110
                                             0 exceeds $10,000, but doeo not·exceed $26,000                                      21 STC:V00470
                G0 ACTION IS AN UNUMITED CML CASE (exceeds $25,000)
                c:J ACTION IS RECLASSIFIED by this amended complaint·
                     D fFOm limited to unlimited
                     D fFOm unlimited to limited
               1. Plalnlltr (namo or namos): Karla Castaneda
                 alleges causes of action against defendant (name or names}:
                 TARGET CORPORATION
              2. This pleading. InCluding anachments and exhibits, consists of the following number of pages: 5
              3. Each plaintiff named above is a competent adult
                 a. D except plaintiff (name}:
                           (1) D a corporation qualified to do business in Califomla
                          (2) D an unincorporaled entity (dosctibe}:
                          (3) D a public entity (dasctibe):
                          (41 D a minor D an aduft
                                     (a) D for whom a guardian or ainservator of the estate or a guardian ad litem has been appointed
                                     (b) D other (specify}:
                          (5) D other (specify}:
                  b.   0       except plain! iff (name):                     . .        .
                               (1) D a corporation qualified to do business In Califoniia
                               (2) D an unincorporated entity (doscnbe):
                               (3) D a public entity (dasctibe):
                               (4) D a minor D an adult                              . .
                                        (a) D        for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                                        (b) D        olher (specify}:                ..
                               (5) D other (specify}:           ••·

                 D lnfonnation about additional plaintiffs who are not competent adults Is shown 'In Attachment 3.
                                                                                                                                                        Codu ctCIW Procedure, §42:&,12
               'O::::.:WC::::..~"                        COMPLAINT'-'Personallnjury, Property                                                                      WltiW.~CiJ.QOV
              .....,.....,...,.,.......,,,"'""                                     Damage~          Wrongful Death
Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 6 of 45 Page ID #:6




                                                                                                                               PLD·PI.Q01
      SHORTmLE:
      Castaneda v. Target Corp.

 4.    0      Plaintiff (nama):
              is doing business under the fictitious name (specify):

         and has a.mplied with the fictitious business name laws.
 5. Each defendant named above Is a natural pan;on
    a. lZJ except defendant (nama): Target Corporation                      c.   D   except defendant (name):
            (1) 0    a business organization, form unknown                           (1) 0    a business organization, form unknown
            (2)         m•
                       a.rporation                                                   (2) 0    a corporation
            (3) 0    an unincorporated entity (descn!Je):                            (3) 0    an unincorporated entity (describe}:

                  (4)   0    a public entity (describe):                             (4) D       a.P.ubtlc entity (dasaibs}:

                  (5)   0    other lspacffy):                                        (5) 0       other (spscity):




      b. D        except defendant (nama):                                  d. D     except defendant (nama):
                  (1) D   a business organization, form unknown                      (I) CJ a business organization, form unknown
                  (2) CJ a a.rporalion                                               (2} CJ a corporation
                  (3) Dan unina.rporated entity (dasaibs}:                           (3) CJ an uninCorporated entity (dascnbe):

                  (4)   CJ a public entity (dasaibs):                                (4)   CJ a public entity (dascn!Je}: .
                  (5)   CJ otller (specifjl):                                        (5)   CJ otller (specify):

       CJ     Information about additional defendants who ara not natural persons is a.ntained in Attachment 5.
 6.     The INe names of defendants sued as Does are unknown to plaintiff.
        a. 0    Doe defendants (specify Doe numbets): I - 50                          were the agents or employees of other
                named defendants and acted within tile scops of that agency or employment.       ·
        b.   lZJ Doe defendants (specify Doe numbets): I · 50                              alB pen;ons whose capacities are unknown to
                    plaintiff.
 7.    CJ        Defendants who are joined under Code of Civil Procedure section 382 are (names):



 8.    This court is tile propar court because
       a. CJ at least one defendant now resides in its jurisdictional area.
       b. D the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
       c. [LJ Injury to person or damage to personal property occurred In Its jurisdlelional area.
       d. D otller (specify):




9.     CJ     Plaintiff is required to comply wit11 a claims statute, and
       a.    0    has complied wtth applicable claims statutes, or
       b.    D is excused !tom a.mplylng baceuse (specify}:


                                                    COMPLAINT-Personal Injury, Properly .
                                                           Damage, Wrongful Death
Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 7 of 45 Page ID #:7




I SHORT TITlE:
  Castaneda v. Target Corp.
                                                                                                 CASE NUMB!A:
                                                                                                                                PLD·PI-001



 10. The following causes of action are attached and the statements above apply to each (each complaint must have one or mora
     causes of action attached):                                       ·
     a. D Motor Vehicle
     b. 0 General Negligence
     c. D Intentional Tort
     d. D Products Liability
     e. 0     Pramlses Uabillly
     f.       m
              Other (spscify):
                   ACCORDING TO PROOF


 11. Plalnllfl has suffered
     a. c:Jwageloss
     b. c:J.Ioss of use of property
     c.       m hospital and medical expenses
     d.       m general damage
     e.       D property damage
     f. D loss of earning capacity
     g. 0 other damage (spocify):
                   ACCORDING TO PROOF
                   EMOTIONAL DISTRESS

 12.   D       The damages Claimed for wrongfUl death and the relationships of plaintiff to the deceased are
        a.    D   listed In Attachment12.
        b.    D   as follows:




 13. The relief sought In this complaint is within the jurisdiction of this court



 14. Plaintiff prays for judgment for costs olsul~ lor such relief asis fair, just, and equHablo; and for
     a. (1) 0      compensatory damages
        (2)       Dpunitive damages
        The amount of damages is (in cases for personal injury or wrongful death, you must chack (1)):
        (1) 0      according to proof
        (2) D in the amount of. $
 15.   D       The paragraphs of this complaint alleged on inlonnation and belief are as follows (specify paragraph numben~):




Oale:        1106/2021
 Kyle Madison
                          {TYPE OR PRINT NAME)
                                                                                                                                    PAOQ3af3
                                                 COMPLAINT-Periionalln)ury, Property
                                                     Damage, Wrongful Death
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·'



     SHORT TITLE:                                                                             I"'""NUMBER'
                                                                                                                              PLD-PI-001(41


     I
     Castaneda v. Target Corp.

         First                            CAUSE OF ACTION..;..Premlses Liability                                       Page      4 of5
                {number)
         ATTACHMENTTO [Z] Complaint                    0     Cross-Complaint
         (Usa s sapstale causa of action form for esch causa of action.)
         Prem.L-1. Plaintiff (nBIIIe): Karla Castaneda
                     alleges the acts ol defendants were the legal (proximate) causa of damages to plaintiff.
                     On (dole): I0/1 0/20 19                            plaintiff was Injured on the fallowing pmmlses In the following
                       fashion (description of Pt&misss end circumstances of injuf)'):
                       On October 10,2019, Karla Castaneda {hereinafler "Piaintifr') was a business invitee of the
                       Target Corporation {hereinafter "Defendant") located at 10600 Firestone Blvd. Norwalk, CA
                       90650. On this date, the Defendant breached a duty of care to Plaintiff by failing 10 supervise
                       and maintain a safe and clean premises. This lack of due care resulted in Plaintiff slipping and
                       falling near the check-out stand on a clear liquid substance, which at the time of fall, had no
                       notice of caution and/or warning signs within sight.
         Prem.L-2.      0     Count One-Negligence The defendants Who negllgenlly owned, maintained, managed and
                              operated the described premises were (names):
                              Target Corporation

                             0      Does ..:1_ _ __ to 50
         Ptem.L-3.      0    Count Two-Willful Fattura to Warn [Civil Code section 8461 The defendant ownm Who willfully
                             or maliciously failed to guard or warn against a dangerous condition, use, structure, or activity were
                             (names):
                             Target Corporation

                             0       Does ..!1_ _ __ to 50
                             Plaintiff, ·a recreational user, was D an invited guest D a paying guest
         Prern.L-4.     0    Count Thrae-Dangerous CondiUon of Public Property The defendants who owned public property
                             on Which a dangerous condHion axisted W&IB (names):


                                     0Does                       to - - - - -
                             a. D     The defendant public entity had D actual D constructive notice of the existence of the
                                      dangerous condition in sufficient time prior to the injury to have corrected it.
                             b. 0 The condition was ctealed by employees of the defendant public entRy.
         Prem.L-5. a. D      AllegaUons about Other Defendants The defendants Who we"' the agents and employees of the
                             other defendants and acted within the scope of the agency were (names):


                             DDoas _ _ __                   to _ _ __
                      b. D   The defendants Who are liable to plaintiffs for other teasons and the teasons for their liability are
                             D described in attachment Ptem.L.S.b D as fallows (nomos):



                                          CAUSE OF ACnON-Pnemlses Liability                                           CQ®aiCMI~, §4~.12
                                                                                                                                          ....
                                                                                                                           -.CIDU4rlfo.~.I)DY
Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 9 of 45 Page ID #:9




                                                                                                                       PLD-PI-001 (2}
  SHORT TITLE:                                                                           CASE NlWBER:

  Castaneda v. Target Corp.

      Second                             CAUSE OF ACTION-General Negligence                                      Page          5 of5
                 (number)
      ATTACHMENT TO         W Complain! 0              Cross. Complain!
      (Use a separate cause of action form for each causa of action.)

      GN-1. Plainliff (name):   Karla Castaneda
             alleges that defendant (nama): Target Corporation



                      W Does         ..:.1_ _ _ _      to ~50~---
             was the legal (proximate) cause of damageslo plaintiff. By the following acts or omissions to acl, defendant                         r
             negligenUy caused the damage to plaintiff
             on(date): 10/10/2019
             at (place): I0600 Firestone Blvd. Norwalk, CA 90650
             (dascliption of rassons for liability):
                                 '
                On· Ociober I0, 2019,  K;!rla Castaneda (hereinafter "Plaintiff') was a business invitee of the
             Target Corporation (hereinafter "Defendant") located at I0600 Firestone Blvd. Norwalk, CA
             90650. On this date, the Defendant breached a duty of care to Plaintiff by failing to supervise and
             maintain a safe and clean premises.

             This lack of due care resulted in Plaintiff slipping and falling near the check-out stand on a clear
             liquid substance, which at the time of fall, had no notice of caution and/or warning signs within
             sight. This negligence caused Plaintiff physical injuries and resultant economic damages.

             At the time of said accident, Defendant owed a duty to all business invitees to ensure that safety
             was and would be maintained at all times. Due to the Defendant's conduct, and the incident herein
             alleged, Plaintiff sustained injuries to her health, strength, and activities, which has and will
             continue to cause pain, suffering, and emotional distress.         ·




                                                                                                                CDd8 Gf CiW PrccecNre 425, f2
                                       CAUSE OF ACTION-General Negligence                                                WWW.COinfnJb.c:.:t.go~
Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 10 of 45 Page ID #:10




                        EXHIBIT ''B''
               Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 11 of 45 Page ID #:11

     Eleclronlo.l!ly FILED by Superior Court of California, County of Los Angeles on 01106/20~'~:C\J(fd&rri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk

tJ                                                                                                                                                                    49305 2111/20211:~~.pm

                                                                                                                                                                                 SUM-100':·..
                                                              SUMMONS                                                                         A:»l COUR1' U$E ONLY
                                                                                                                                          fSOLO PAM USO D£ tA CORreJ
                                                     (CITACION JUDICIAL)
                   NOTICE TO DEFENDANT:
                                                                                                                                                                     ·.'
                   (AVISO AL. DEMANDADO}:
                    TARGET CORPORATION                                                                                                                                . ·'.
                    DOES I -50
                   YOU ARE BEING SUED BY PLAINTIFF:                                                                                                                                                                    ·,.·.
                   (L.O ESTA DEMANDAND.O EL. DEMANDANTE}:
                    Karla Castaneda
                                                                                                                                                                                          .   ... :.
                                                                                                                                                                                              ~

                                                                                                                                                          "   ..
                     NOnCEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Re~d ttie ln.f!'~~~~ . .'
                     below.                                                                                                                                 . : .      ·. •;. ; ..
                        You have 30 CALENDAR DAYS after this summons artd legal papers are served on you to file a written response at this court and have a copy·.. : ..
                     served on the plaintiff. A letter or phone call wUI not prated you. Your written response must be In proper legal fotm if you want the court to hear your
                     case. Thare may be a coutt fonn that you can use for your response. You can find these court tcnns and more Information at the CBiifDmla ccurta · .                                                       ,;: ·
                     OnDne Self·Hefp Center (www.coulfinfo.CS'.gov/sellhelp), your county law library, or the courthouse nearest you. Uyou cannot pay the. fiflng fee, B!Jk·· ,.:·
                     the court derk for a fee walverform.lfyou do not file your response on Ume, you may loselhe case by default. and yoUtwages, money, and p~pt?:rty
                    may be taken without further wam!ng from the court.                                                                                                         ·· · ·
                        Thera are other legal requirements. You may want lo caD an attorney rlghl away.lfyou do not know an atlomey, you may want to caU an auomey
                    referral senrlc:e.lf you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal service a p1ogram. You can locate
                     these nonprofit groups altha CsUfomla Legal Services Web site (WMY.Iswhs/pcslifomla.tug),lhe CBIIfomla Courts Online Self·HeiP Center               .. ;~ · .·
                    (www.couttinfo.ca.gov/setfhetp), or by c:ontadlng your local court or c:aunty bar associaUon. NOTE: The court tlaa a statutory lien for waived feeS ·and
                     co&ts on any settlement or arbitration award of $10,000 or more In a civil case. The court's nen muat be paid before the court wUI dismiss the case.
                    tAVISOI LD hsn demsndSdo. Si no respond8 dontro de 30 dfss. Ia corte putJds dscir:lir en su contra sin escur:hsr su vstsl6n. Lea Ia lnformBCi6n e
                    contlnueci6n.
                       Tiens 30 OIAS DE CALENDARIO dBSpuls dB que Is enltBgurm ests cilacf6n y pspeles legales para presenter uns respuests paresaito en esta
                    corte y hacer que seentregue una copls at demendsnle. Uns c:srta o una lfamsda tsfsfdnica no Jo protegen. Su respuesta per esaito tiene que ester
                    en tormsto legal conacto sl deses qua procesen su caso en Ia cotta. Es posibJs que hsya un formulsrio que usted pueda usar plliB su respuests.
                    PufHJe enconltar estos lonnularios de Ia OOtf& y m4s lnfomuu:i6n en el Cenb'O d6 Ayuda de las Corles de Califomilt (www.sucorte.ca.gov}. en fa
                    bibliotecs de lttyeS de su condado o en Is corte que Is quede m,ds oerr:a. Sino pusds pagarls cuota de presentst:idn, pida al sectet&rlo ds Is corte
                    qua le d' un fannula.tio de exend6n de pago da QIOtas. Sino pteseniB .su re.spuesta a tiempo, pusde perder el caso por UJcumpUmiento y Ia corte fe
                    podrd quitat su sueklo, dmGm y l*nes sin mss BdVertencis.
                       Hsy otros tequisilos legales. Es rscomendabla que IIams a un abogado inmedistamente. Sino conooe a un abogsdo, puede llsm;v a un ~rviciq. pe
                    remlsitJn a abogaclos. Si no puetkl pager a un abegsdo. es posibfe que cumpla con los requ;sltos para obtener seTVfr:los tegala.s gratuitos de un
                    programs de seiVicios legales sin fines de IIJeto. Puede enc:ontrarestos grupos sin fines de lUCID en sl siffo web de Cslifomls LegEil SSrvices.
                    (www.fawhelpcallfomJa.orgJ, en el Centro diJ Ayude de Iss Cottss de Califcmls. (w\wl,succne.c:a.gov) o pon/lndoStJ en contacto.con Is aute. o el.
                    oo/egio de abogados locales. AVISO: Por ley, Is corte tiens detedlo e reclsmu las cuot&s y los costos exsntos por imporler un grevamen SOblv
                    cualquier teeupef8ci6n dB $10,000 6 mats de valor reclblda mediante un scuerdo o una concesl6n de art.Jillaje en.t;n caso.de det:et;ho civ.ilt TI(JIIB que .. ,
                    pagar el gravamen de fa corte antes d9 que Ia oatte puede ctesedlsr e1 caso.                                                                     ·
                  The name and address of the court is:                                                                       CASE NUN.B£R;
                                                  Superior Court of California County of 1
                  (EI nombre y direcci6n do/a corte es):                                                     CV·
                                                                                                                     0 0 47 0
                                                                                                                              """"'21sT
                                                                                                                                    .
                   Los Angeles, 312 N. Spring Street Los Angeles, CA 90012. Spring Street L-=.:...:.-=-=--=-=--=-=._:_..:.....::.....~
                   Courthouse
                  The name, address, and telephone number of plaintiffs anomey, or. plaintiff without. an attorney, is: ..                                         . ..
                  (B nombre, Ia dilllCCi6n y el nrlmem de tehlfono del abogsdo del demandsnle, o del demandante quo no tiene abogsdo. es):
                   Kyle Madison IIIII Santa Monica Boulevard, Suite. 100 Los Angeles Califomia.90025 310-201,7676
                                                                  Sherrl R Carter Executive Officer I Clerk of Court
                   DATE:      01/0612021                                                             Clerk. by                                                                   • t;Jeputy·
                   (Fecha)                                                                (Seetlltario)                                                                           (Adjunto)
                  (For proof of service of this summons. use Proof of Service of Summons (fonn POS.010).)                                                                         ..•.
                  (Pare pfllllba de entrege de esta cilali6n use al fonnulatio P.rool of Service of Summons, (POS-01(1))..                                                                .. '·"'" ·.
                                                         NOTICE TO THE PERSON SERVED: You are served
                                                         1.   D      as an individual·defendanl                                                  . ,,.,.., "···'·"               •'.     ·-· ...........
                                                                                                                                              . .
                                                                     asthep•r-;;~:r-the{~7Po7;t:;a;J:                                                     ·.·
                                                                                                                                               ~~

                                                         2.   D                                                                                                                                         ;"   ··:-·
                                                                                                                                                ... ,                                             .·,.. .~; ..
                                                        3.    [jt on behalf of (oPacify):            ··
                                                              under.   £:::iJ   CCP 416.10 (corporation)                      D    CCP 416:ilo (minor)
                                                                       D        CCP 416.20 (defunct corporation)              D    CCP 416.70 (conservalee)
                                                                   D            CCP 416..46 '(as5ociation or partnership)     CJ · CCP 416.90 (authorizl!<l'pjitslin)                                         ·,.....
                                                              -"'- D            other·(specify): ·                                                                                                     ·~·              ·"·
                                                        4.    LJAJ   by personal delivery on (dolo):                                                                                     ... taft•' ...
                                                                                           SUMMONS                                                      COGolifCIW~§§'412'.20,'485
                                                                                                                                                                           ..ww.9Q~Iml(.,,ta P~'~
                                                                                                                                                                                                                   .


                                                                                                                                                                               . ·,1.             •;         } •
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                       EXHIBIT ''C''
       Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 13 of 45 Page ID #:13


Electronically FILED   Superior Court of California, County of Los Angeles on 03/12/2021 10:00 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Yanez,Deputy Clerk



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                 6     TARGETCORPORATION

                 7
                  8
                                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  9
                                                                FOR THE COUNTY OF LOS ANGELES
                10
                                                CENTRAL DISTRICT- SPRING STREET COURTHOUSE
                II
                       KARLA CASTANEDA,                                                             CASE NO: 21STCV00470
                12                                                                                  (Assigned to Judge Kristin S. Escalante in
                                                         PLAINTIFF,                                 Dept. 29)
                13
                                  vs.                                                               DEFENDANT TARGET
                14                                                                                  CORPORATION'S ANSWER
                       TARGET CORPORATION, DOES 1-50,
                15
                                                         DEFENDANT.                                 Complaint Filed: January 6, 2021
                16                                                                                  Trial Date:      July 6, 2022

                17
                18                Defendant TARGET CORPORATION ("Defendant") hereby answers the Original
                19     Complaint ("Complaint") filed by Plaintiff KARLA CASTANEDA ("Plaintiff'):
                20                                                GENERAL AND SPECIFIC DENIALS
               21                 Pursuant to the provisions of California Code of Civil Procedure section 431.30(d),
                22     Defendant denies, generally and specifically, each and every allegation contained in the
                23     Complaint, and further denies that Plaintiff has been damaged in the amount or amounts alleged
                24     therein, or in any other amount, or at all, by reason of any act or omission on the part of
               25      Defendant, or by any act or omission by any agent or employee of Defendant. Defendant further
                26     denies, generally and specifically, that Plaintiff is entitled to any relief whatsoever.

                27     III

                28


                                                              DEFENDANT TARGET CORPORATION'S ANSWER
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      1                                      AFFIRMATIVE DEFENSES

      2                                   FIRST AFFIRMATIVE DEFENSE

      3                                   (Failure to State a Cause of Action)

      4           The Complaint, and each and every cause of action alleged therein fails to state facts
      5   sufficient to constitute a cause of action for which relief may be granted.

      6                                  SECOND AFFIRMATIVE DEFENSE

      7                                   (Accidental or Unavoidable Injury)

      8           The Complaint, and each and every cause of action alleged therein, is barred because
      9 Defendant was not negligent at the time of the accident.

     10                                  THIRD AFFIRMATIVE DEFENSE

     11                                          (Acts of Other Parties)

    12            Defendant alleges that, if Defendant is subjected to any liability by Plaintiff, it will be due
     13   in whole or in part to the acts and/or omissions of other parties, or parties unknown at this time,
    14    and any recovery obtained by Plaintiff should be barred or reduced according to law, up to and
    15    including the whole thereof.

    16                                   FOURTH AFFIRMATIVE DEFENSE

    17                                           (Assumption of Risk)

    18           The Complaint, and each and every cause of action alleged therein, is barred in that
    19    Plaintiff, with full knowledge of all risks attendant thereto, voluntarily and lmowingly assumed
    20    any and all risks attendant upon Plaintiffs conduct, including any purported damages alleged to be
    21    related thereto and proximately caused thereby.
    22                                   FIFTH AFFIRMATIVE DEFENSE

    23                                        (Comparative Negligence)

    24           Defendant alleges that Plaintiff was negligent, and otherwise at fault, with regard to the
    25    events alleged in the Complaint, and such negligence and fault is the proximate cause of any
    26    liabilities or damages Plaintiff may incur. Accordingly, Plaintiffs recovery, if any, should be
    27    precluded or reduced in proportion to their negligence and fault.
    28
                                                      2
                                    DEFENDANT TARGET CORPORATION'S ANSWER
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          1                                   SIXTH AFFIRMATIVE DEFENSE

          2                                                 (Estoppel)

          3              The Complaint, and each and every cause of action alleged therein, is barred by the
          4 doctrine of estoppel.
          5                                 SEVENTH AFFIRMATIVE DEFENSE

          6                                      (Exercise of Reasonable Care)

          7              Defendant exercised reasonable care and did not know, and in the exercise of reasonable

          8 care could not have known, of the alleged acts or allegations in connection with the conditions
          9 which are the subject of the Complaint

         10                                  EIGHTH AFFIRMATIVE DEFENSE

         11                             (Failure of Others to Exercise Reasonable Care)

         12           If Defendant is subjected to any liability herein, it will be due in whole, or in part, to the
         13   acts and/or omissions of other Defendants or other parties unknown at this time, and any recovery
         14   obtained by Plaintiff should be barred 9r reduced according to law, up to and including the whole
        15    thereof.

        16                                    NINTH AFFIRMATIVE DEFENSE

        17                                    (Failure to Exercise Ordinary Care)
        18            The Complaint, and each and every cause of action alleged therein, is barred in that
        19    Plaintiff failed to exercise ordinary and reasonable care on Plaintiff's own behalf and such
        20    negligence and carelessness was a proximate cause of some portion, up to and including the whole
        21    of, Plaintiff's own alleged injuries and damages, if any, and Plaintiff's recovery therefore should
        22    be barred or reduced according to law, up to and including the whole thereof.
        23                                   TENTH AFFIRMATIVE DEFENSE

        24                                       (Failure to Mitigate Damages)
        25           Plaintiff failed to take reasonable steps and make reasonable expenditures to reduce
        26    Plaintiff's claims, damages, losses, if any, and that said failure to mitigate Plaintiff's damages bars
        27    or reduces any claims, losses, or damages.
        28

                                                           3
                                         DEFENDANT TARGET CORPORA TJON'S ANSWER

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     1                                ELEVENTH AFFIRMATIVE DEFENSE

     2                                       (Intervening Acts of Others)

     3           The Complaint, and each and every cause of action alleged therein, is barred because the

     4   injuries and damages sustained by Plaintiff, if any, were proximately caused by the intervening

     5   and superseding actions of others, which intervening and superseding actions bar and/or diminish

     6   Plaintiffs recovery, if any, against Defendant.

     7                                 TWELFTH AFFIRMATIVE DEFENSE

     8                                                  (Laches)

     9           The Complaint, and each and every cause of action alleged therein, is barred by the
    10   doctrine oflaches.

    11                               THIRTEENTH AFFIRMATIVE DEFENSE

    12                                              (Lack of Notice)

    13           Defendant alleges that it did not have either actual or constructive notice of the conditions,
    14   if any, which existed at the time and places mentioned in the Complaint, which conditions may

    15   have caused or contributed to the damages as alleged herein. Said lack of notice prevented

    16   Defendant from undertaking any measures to protect against or warn of said conditions.

    17                               FOURTEENTH AFFIRMATIVE DEFENSE

    18                                          (Lack of Particularity)

    19          The Complaint, and each. and every cause of action alleged therein, is barred in that
    20   Plaintiff failed to particularize the claims in the Complaint, thereby depriving Defendant of the

    21   ability to ascertain the true bases of Plaintiffs claim, if any, and the law applicable to the claim.

    22                                FIFTEENTH AFFIRMATIVE DEFENSE

    23                                            (Lack of Standing)
    24          The Complaint, and each and every cause of action alleged therein, is barred because

    25   Plaintiff lacks standing.

   26    Ill
   27    III
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                                     DEFENDANT TARGET CORPORATION'S ANSWER
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     1                               SIXTEENTH AFFIRMATIVE DEFENSE

     2                                            (Necessary Parties)

     3          Plaintiff has failed to properly join all parties which are necessary or indispensable to this

     4   action in accordance with the California Code of Civil Procedure.

     5                             SEVENTEENTH AFFIRMATIVE DEFENSE

     6                                             (Obvious Danger)

     7          Defendant alleges that Plaintiff failed to exercise reasonable and ordinary care, caution, or

     8   prudence for Plaintiff's own safety in order to avoid the alleged accident. The resulting injuries

     9   and damages, if any, sustained by Plaintiff were proximately caused and contributed to by the

    10   negligence of Plaintiff, in that any possible danger with regard to the accident in question was

    11   obvious to anyone using reasonable care.

    12                              EIGHTEENTH AFFIRMATIVE DEFENSE

    13                                             (Reimbursement)

    14          Defendant alleges that any reimbursement, from whatever source, to Plaintiff of the alleged

    15   damages must be applied against any liability of Defendant.

    16                              NINETEENTH AFFIRMATIVE DEFENSE

    17                                   (Res Judicata/Collateral Estoppel)

    18          The Complaint, and each and every cause of action alleged therein, is barred by the

    19   doctrines of res judicata and/or collateral estoppel.
    20                              TWENTIETH AFFIRMATIVE DEFENSE

    21                            (Several Liability for Non-Economic Damages)
    22          If Defendant has any liability to Plaintiff in this action, which is denied, it is only severally

    23   liable for Plaintiff's non-economic damages under California Civil Code sections 1431.1 and

    24   1431.2. Therefore, Defendant requests a judicial determination of the percentage of its negligence,

    25   if any, which proximately contributed to the subject incident.

    26   II I
    27   Ill
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                                    DEFENDANT TARGET CORPORATION'S ANSWER
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     I                              TWENTY-FIRST AFFIRMATIVE DEFENSE
     2                                           (Statute of Limitations)

     3             The Complaint, and each and every cause of action alleged therein, is barred by the
     4   applicable statute of limitations, including, but not limited to, Government Code sections 12960

     5   and 12965; Code of Civil Procedme sections 335.1, 337, 338, 339,340 and 343; and Business and
     6   Professions Code section 17208.

     7                            TWENTY-SECOND AFFIRMATIVE DEFENSE

     8                                                (Uncertainty)

     9             Defendant alleges that the causes of action in the Complaint, and each of them, are
    I0   )lncertain and ambiguous as to Plaintiffs claim for damages against Defendant.
    II                              TWENTY-THIRD AFFIRMATIVE DEFENSE

    12                                                  (Waiver)

    13             The Complaint, and each and every cause of action alleged therein, is barred by Plaintiffs

   14    waiver.
    15                            TWENTY-FOURTH AFFIRMATIVE DEFENSE

   16                                             (Willful Misconduct)

   17              Defendant alleges that if Plaintiff was injmed and/or damaged as set forth in the Complaint,
   18    or in any other way, sum or manner, or at all, then said injuries and/or damages and the whole
   19    thereof, proximately and concurrently resulted from and were caused, in whole or in part, by the
   20    willful and serious misconduct on the part of the Plaintiff with regard to each and every activity at
   21    the times and places mentioned in the Complaint and all times relevant thereto.
   22                               TWENTY-FIFTH AFFIRMATIVE DEFENSE

   23                                            (Additional Defenses)

   24              Defendant may have additional defenses that cannot be articulated due to Plaintiff's failure
   25    to particularize Plaintiffs claims, due to the fact that Defendant does not have copies of certain
   26    DOCUMENTS bearing on Plaintiffs claims and due to Plaintiffs failure to provide more specific
   27    information concerning the nature of the damage claims and claims for certain costs for which
   28    Plaintiff alleges that Defendant may share some responsibility. Defendant therefore reserves the

                                                       6
                                     DEFENDANT TARGET CORPORA TJON'S ANSWER
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     1 right to assert additional defenses upon further particularization of Plaintiffs claims, upon

     2   examination of the DOCUMENTS provided, upon discovery of further information concerning

     3   the alleged damage claims and claims for costs, and upon the development of other pertinent

     4   information.

     5                                       PRAYER FOR RELIEF
     6          WHEREFORE, Defendant prays for judgment as follows:

     7          1.      That Plaintiff takes nothing by way of the Complaint;

     8          2.      That judgment be entered against Plaintiff and in favor of Defendant on all causes

     9                  of action;

    10          3.      That Defendant be awarded attorneys' fees and costs of suit incurred herein; and

    11          4.      That Defendant be awarded such other and further relief as the Court may deem

    12                  just and proper.

    13

    14   DATED: March 12,2021                        PRINDLE GOETZ BARNES & RElNHOLTZ, LLP

    15

    16

    17                                               R. Derek Classen
                                                     Attorneys for Defendant
    18                                               TARGET CORPORATION
   19

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                                     DEFENDANT TARGET CORPORAT!ON'S ANSWER
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   1   TARG-0490                      PROOF OF SERVICE
                                      Karla Castaneda v. Target Corporation
   2                                         Case No. 20STCV00470

   3    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

   4          I am employed in the County of Los Angeles, State of California. I am over the age of 18
       years and am not a party to this action. My business address is 310 Golden Shore, Fourth Floor,
   5   Long Beach, California 90802.

   6           On March 12, 2021, I served the foregoing document described as DEFENDANT TARGET
        CORPORATION'S ANSWER on interested parties in this action by placing a true copy thereof
   7    enclosed in sealed envelopes as follows:

   8           SEE ATTACHED SERVICE LIST

   9
               (By U.S. Mail) I am readily familiar with my employer's business practice for collection and
  10           processing of correspondence for mailing with the United States Postal Service. I am aware
               that on motion of the party served, service is presumed invalid if postal cancellation date or
  11           postage meter is more than one day after date of deposit for mailing in affidavit. I deposited
               such envelope(s) with postage thereon fully prepaid to be placed in the United States Mail at
  12           Long Beach, California.

  13
        0     (By Facsimile) I served a true and correct copy by facsimile pursuant to C.C.P. 1 013(e),
              calling for agreement and written confirmation of that agreement or court order, to the
              nurnber(s) listed above or on attached sheet. Said transmission was reported complete and
  14
              without error.
  15
       0      (By Personal Service) I caused to be delivered by hand by                         to the
  16          interested parties in this action by placing the above mentioned document(s) thereof in
              envelope addressed to the office of the addressee(s) listed above or on attached sheet.
  17
       0      (By Overnight Courier) I served the above referenced document(s) enclosed in a sealed
              package, for collection and for delivery marked for next day delivery in the ordinary course of
  18
              business, addressed to the office of the addressee(s) listed above or on attached sheet.
  19
              (By E-Mail) I transmitted a copy of the foregoing documents(s) via e-mail to the
              addressee(s).
  20
               (State) I declare under penalty of petjury under the laws of the State of California that the
  21
               foregoing is true and correct.
  22
       0       (Federal) I declare that I am employed in the office of a member of the Bar of this Court, at
               whose direction the service was made. I declare under penalty of perjury under the laws of
  23
               the United States of America that the foregoing is true and correct.
  24           Executed on March 12, 2021, at Long Beach, California.
  25

  26                                                              LETI GUTIERREZ

  27

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       TARG-0490                  Karla Castaneda v. Target Corporation
   1                                         Case No. 20STCV00470
   2

   3                                           SERVICE LIST
   4
       Attorneys for·Plaintiff
   5
       Kyle Madison, Esq.
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   7   Los Angeles, California 90025
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       E-Mail:       kyle@madisonlawgroup.com
  10

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       TARG-0490
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                       EXHIBIT ''D''
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                                                                                                                                        DISC.001
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Stale Bar number, and address):
    R. Derek Classen (SBN 162805)
i- Prindle Goetz Barnes & Reinholtz, LLP
   310 Golden Shore, 4th Floor
   Long Beach,CA 90017
  TELEPHONE NO.: (562) 436-3946
  FAX NO. (Op/lanal}:
  E-MAIL ADDRESS (Optional):    dclassen@pdalaw.com
  ATTORNEYFOR(Nomel:          Defendant, TARGET CORPORATION
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF                   LOS ANGELES


  SHORT TITLE OF CASE:
  Karla Castaneda v. TARGET CORPORATION

                                       FORM INTERROGATORIES-GENERAL                               CASE NUMBER:
           Asking Party:           Defendant, TARGET CORPORATION                                                 21STCV00470
     Answering Party:              Plaintiff, KARLA CASTANEDA
             Set No.:              ONE
Sec. 1. Instructions to All Parties                                           (c) Each answer must be as complete and straightfOJward
(a) Interrogatories are written questions prepared by a party                 as the information reasonably available to you, including the
to an action that are sent to any other party in the action to be             information possessed by your attorneys or agents, permits. If
answered under oath. The interrogatories below are form                       an interrogatory cannot be answered completely, answer It to
interrogatories approved fOr use in civil cases.                              the extent possible.
(b) For time limitations, requirements for service on other                   (d) If you do not have enough personal knowledge to fully
parties, and other details, see Code of Civil Procedure                       answer an interrogatory, say so, but make a reasonable and
sections 2030.010-2030.410 and the cases construing those                     good faith effort to get the information by asking other persons
sections.                                                                     or organizations, unless the information is equally available to
(c) These form interrogatories do not change existing law                     the asking party.
relating to interrogatories nor do they affect an answering                   (e) Whenever an interrogatory may be answered by
party's right to assert any privilege or make any objection.                  referring to a document, the document may be attached as an
                                                                              exhibit to the response and referred to in the response. If the
Sec. 2. Instructions to the Asking Party                                      document has more than one page, refer to the page and
(a) These Interrogatories are designed for optional use by                    section where the answer to the interrogatory can be found.
parties In unlimited civil cases where the amount demanded
                                                                              (f) Whenever an address and telephone number for the
e·xceeds $25,000. Separate interrogatories, Form
                                                                              same person are requested in more than one interrogatory,
lnterrogatories-Umited Civil Cases (Economic Litigation)
                                                                              you are required to t.urnlsh them in answering only the first
(form DISC-004), which have no subparts, are designed for
                                                                              interrogatory asking for that information.
use in limited civil cases where the amount demanded Is
$25,000 or less; however, those interrogatories may also be                   (g) If you are asserting a privilege or making an objection to
used In unlimited civil cases.                                                an interrogatory, you must specifically assert the privilege or
                                                                              state the objection in your written response.
(b) Check the bOx nsxt to aach interrogatory that you want
the answering party to answer. Use care in choosing those                     (h) Your answers to these interrogatories must be verified,
interrogatories that are applicable to the case.                              dated, and signed. You may wish to use the following form at
(c) You may insert your own definition of INCIDENT in                         the end of your answers:
Section 4, but only where the action arises from a course of                       I declare under penalty of perjury under the laws of the
conduct or a series of events occurring over a period of time.                State of California that" the foregoing answers are true and
(d) The interrogatories in section 16.0, Defendant's                          correct.
Contentions-Personal injury, should not be used until the
defendant has had a reasonable opportunity to conduct an                              (DATE)                          (SIGNATURE)
investigation or discovery of plaintiffs injuries and damages.
(e) Additional interrogatories may be attached.                               Sec. 4. Definitions
Sec. 3. Instructions to the Answering Party                                      Words in BOLDFACE CAPITALS in these interrogatories
(a) An answer or other appropriate response must be                           are defined as follows:
given to each interrogatory checked by the asking party.                         (a) (Check one of the following):
(b) As a general rule, within 30 days alter you are served                       W (1)       INCIDENT includes the circumstances and
with these interrogatories, you must serve your responses on                            events surrounding the alleged accident, injury, or
th_e asking party and serve copies of your responses on all                             other occurrence or breach of contract giving rise to
other parties to the action who have appeared. See Code of                              this action or proceeding.
Civil Procedure sections 2030.260-2030.270 for details·.                                                                                    Page1 ora
Form Approv&d fer OpUonal Use                                                                                                   Coda of Civil Procedure,
  Judicial Council of Califomle                         FORM INTERROGATORIES-GENERAL                                    §§ 2030.010.2030.410, 2033.710
DISC..Q01 [Rev. January 1, 2008]                                                                                                  www.courtinfo.ce.gov
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                                                                                                                     DISC-001
D      (2)    INCIDENT means (insett your definition here or         1.0 Identity of Persons Answering These Interrogatories
              on a separate, attached sheet labeled "Sec.
              4(a)(2)"):
                                                                     0     1.1 State the name, ADDRESS, telephone number, and
                                                                           relationship to you of each PERSON who prepared or
                                                                           assisted. in the preparation of the responses to these
                                                                           interrogatories. (Do not identify anyone who simply typed or
                                                                           reproduced the responses.)

                                                                     2.0 General Background Information-individual
 (b) YOU OR ANYONE ACTING ON YOUR BEHALF
 includes you, your agents, your employees, your insurance
                                                                     0     2.1   State:
                                                                           (a)   your name;
 companies, their agents, their employees, your attorneys, your            (b)   every name you have used In the past; and
 accountants, your investigators, and anyone else acting on                (c)   the dates you used each name.
 your behalf.
 (c) PERSON includes a natural person, firm, association,            IZJ 2.2 State the date and place of your birth.
 organization, partnership, business, trust, limited liability
 company, corporation, or public entity.
                                                                     [l]   2.3 At the time of the INCIDENT, did you have a driver's
                                                                           license? If so state:
 (d) DOCUMENT means a writing, as defined in Evidence                      (a) the state or other issuing entity;
 Code section 250, and includes the original or a copy of                  (b) the license number and type;
 handwriting, typewriting, printing, photostats, photographs,              (c) the date of issuance; and
 electronically stored information, and every other means of               (d) all restrictions.
 recording upon any tangible thing and form of communicating
 or representation, including letters, words, pictures, sounds, or
                                                                     0     2.4 At the time of the INCIDENT, did you have any other
                                                                           permit or" license for the operation of a motor vehicle? If ·so,
 symbols, or comblhations of them.
                                                                           state:
 (e) HEALTH CARE PROVIDER includes any PERSON                              (a) the state or other issuing entity;
 referred to in Code of Civil Procedure section 667. 7(e)(3).              (b) the license number and type;
                                                                           (c) the date of issuance; and
 (f) ADDRESS means the street address, including the city,                 (d) all restrictions.
 state, and zip code.

 Sec. 5. Interrogatories
                                                                     IZJ 2.5 State:
                                                                           (a) your present residence ADDRESS;
 The following interncgatortes have been approved by the                   (b) your residence ADDRESSES for the past five years; and
 Judicial Council under Code of Civil Procedure section 2033.710:          (c) the dates you lived at each ADDRESS.
                                    CONTENTS
     1.0 Identity of Persons Answering These Interrogatories
                                                                     0     2.6 State:
                                                                           (a) the name, ADDRESS, and telephone number of your
     2.0 General Background Information-Individual                             present employer or place of self-employment; and
     3.0 General Background Information-Business Entity                    (b) the name, ADDRESS, dates of employment, job title,
     4.0 Insurance                                                             and nature of work for each employer or
     5.0 [Reserved]                                                            self-employment you have had from five years before
     6.0 Physical, Mental, or Emotional injuries                               the INCIDENT until today.
     7.0 Property Damage
     8.0 Loss of Income or Earning Capacity                          0     2.7 State:
     9.0 Other Damages                                                     (a} the name and ADDRESS of each school or other
    10.0 Medical History                                                       academic or vocational institution you have attended,
    11.0 Other Claims and Previous Claims                                      beginning with high school;
    12.0 Investigation-General                                             (b) the dates you attended;
    13.0 Investigation-Surveillance                                        (c) the highest grade level you have completed; and
    14.0 Statutory or Regulatory Violations                                (d) the degrees received.
    15.0 Denials and Special or Affirmative Defenses
    16.0 Defendant's Contentions Personal Injury                     0     2.8 Have you ever been convicted of a felony? If so, for
    17.0 Responses to Request for Admissions                               each conviction state:
    18.0 [Reserve(i]                                                       (a) the city and state where you were convicted;
    19.0 [Reserved]                                                        (b) the date of conviction;
    20.0 How the Incident Occurred-Motor Vehicle                           (c) the offense; and
    25.0 {Reserved]                                                        (d) the court and case number.
    30.0 [Reserved]
    40.0 {Reserved]                                                  0     2.9 Can. you speak English with ease? If not, what
    50.0 Contract                                                          language and dialect do you normally use?
    60.0 [Reserved}
    70.0 Unlawful Detainer {See separate fonn DISC-003]              0     2.10 Can you read and write English with ease? If not, what·
   101.0 Economic Litigation [See separate fonn D/SC-004]                  language and dialect do you normally use?
   200.0 Employment Law [See separate fonn D/SC-002]
         Family Law [See separate form FL-145]
OlSC..()01 {Rev. January 1. 2006)                                                                                                  Page 2 of 6
                                                FORM INTERROGATORIES-GENERAL
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                                                                                                                                  DISC-001
12] 2.11      A!the time of the INCIDENT were you acting as an            0     3.4 Are you a joint venture? If so, state:
        agent or employee for any PERSON? If so, state:                         (a) the current joint venture name;
        (a) the name, ADDRESS, and telephone number of that                     (b) all other names used by the joint venture during the
            PERSON: and                                                             past 10 years and the dates each was used;
        (b) a description of your duties.                                       (c) the name and ADDRESS of each joint venturer, and
                                                                                (d) the ADDRESS of the principal place of business.
0       2.12 At the time of the INCIDENT did you or any other
                                                                          0     3.5 Are you an unincorporated association?
        person have any physical, emotional, or mental disability or
        condition that may have contributed to the occurrence of the            If so, state:
        INCIDENT? If so, for each person state:                                 (a} the current unincorporated association name;
        (a) the name, ADDRESS, and telephone number;                            (b) all other names used by the unincorporated association
        (b) the nature of the disability or condition; and                           during the past 10 years and the dates each was used;
        (c) the manner in which the disability or condition                          and
            contributed to the occurrence of the INCIDENT.                      (c) the ADDRESS of the principal place of business.

0      2.13 Within 24 hours before the INCIDENT did you or any            0     3.6 Have you done business under a fictitious name during
       person involved in the INCIDENT use or take any of the                   the past 10 years? If so, for each fictitious name state:
       following substances: alcoholic beverage, marijuana, or                  (a) the name;
       other drug or medication of any kind (prescription or not)? If           (b) the dates each was used;
       so, for each person state:                                               (c) the state and county of each fictitious name filing; and
       (a)   the name, ADDRESS, and telephone number;                           (d) the ADDRESS of the principal place of business.
       (b)   the nature or description of each substance;
       (c)
       (d)
             the quantity of each substance used or taken;
             the date and time of day when each substance was used
                                                                          0     3. 7 'Mthin the past five years has any public entity regis·
                                                                                tared or licensed your business? If so, for each license or
             or taken;                                                          registration:
       (e) the ADDRESS where each substance was used or
           taken;                                                               (a) identify the license or registration;
                                                                                (b) state the name of the public entity; and
       (f) the name, ADDRESS, and telephone number of each
                                                                                (c) state the dates of issuance and expiration.
             person who was present when each substance was used
           or taken; and
       (g) the name, ADDRESS, and telephone number of any                 4.0 Insurance
           HEALTH CARE PROVIDER who prescribed or furnished
           the substance and the Condition for which it was
                                                                          0     4.1 At the time of the INCIDENT, was there in effect any
                                                                                policy of insurance through which you were or might be
             prescribed or furnished.                                           insured in any manner (for example, primary, pro-rata, or
                                                                                excess liability coverage or medical expense coverage) for
3.0 General Background Information-Business Entity                              the damages, claims, or actions that have arisen out of the
0      3.1 Are you a corporation? If so, state:                                 INCIDENT? If so, for each policy state:
       (a) the name stated in the current articles of incorporation;            (a) the kind of coverage;
       (b) all other names used by the corporation during the past              (b) the name and ADDRESS of the insurance company;
           10 years and the dates each was used;                                (c) the name, ADDRESS, and telephone number of each
       (c) the date and place of incorporation;                                     named insured;
       (d) the ADDRESS of the principal place of business; and                  (d) the policy number;
       (e) whether you are qualified to do business in California.              (e) the limits of coverage for each type of coverage con-
                                                                                    tained in the policy:
D     3.2 Are you a partnership? If so, state:                                  (f) whether any reservation of rights or controversy or
      (a) the current partnership name;                                             coverage dispute exists between you and the insurance
      (b) all other names used by the partnership during the past                   company; and
          10 years and the dates each was used;                                 (g) the name, ADDRESS, and telephone number of the
      (c) whether you are a limiled partnership and, if so, under                   custodian of the policy.
          the laws of what jurisdiction;
      (d) the name and ADORESS of each general partner; and               [lJ   4.2 Are you self-insured under any statute for the damages,
      (e) the ADDRESS of the principal place of business.                       claims, or actions that have arisen out of the INCIDENT? If
                                                                                so, specify the statute.
0     3.3 Are you a limited liability company? If so, state:
      (a) the name stated in the current articles of organization;        5.0 {Reserved]
      (b) all other names used by the company during the past 10
                                                                          6.0 Physical, Mental, or Emotional Injuries
          Yl?ars and the date each was used;
      (c) the date and place of filing of the articles of organization;
      (d) the ADDRESS of the principal place of business; and
                                                                          0     6.1 Do you attribute any physical, mental, or emotional
                                                                                injuries to the INCIDENT? (If your answer /s 'no," do not
      (e) whether you are qualified to do business in California.               answer interrogatories 6.2 through 6. 7).

                                                                          0     6.2 Identify each injury you attribute to the INCIDENT and
                                                                                the area of your body affected.


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                                                                                                                               DISC-001
 0     6.3   Do you still have any complaints that you attribute to          (c) statetheamountofdamage you are claiming for each
       the INCIDENT? If so, for each complaint state;                            item of property and how the amount was calculated; and
       (a) a description;                                                    (d) ifthe property was sold, state the name, ADDRESS, and
       (b) whether the complaint is subsiding, remaining the same,               telephone number of the seller, the date of sale, and the
           or becoming worse; and                                                  sale price.
       (c) the frequency and duration.
 0     6.4 Did you receive any consultation or examination                   7.2 Has a written estimate or evaluation been made for any
       (except from expert witnesses covered by Code of Civil                item of property referred to in your answer to the preceding
       Procedure sections 2034.210-2034.310) or treatment from a             interrogat01y? If so, for each estimate or evaluation $tate:
       HEALTH CARE PROVIDER for any injury you attribute to
                                                                             (a) the name, ADDRESS, and telephone number of the
       the INCIDENT? If so, for each HEALTH CARE PROVIDER
       state:                                                                    PERSON who prepared it and the date prepared;
                                                                             (b) the name, ADDRESS, and telephone number of each
       (a) the name, ADDRESS, and telephone number;                              PeRSON who has a copy of it; and
       (b) the type of consultation, examination, or treatment               (c) the amount of damage stated.
           provided;
       (c) the dates you received consultation, examination, or
           treatment; -and                                                   7.3 Has any item of property referred to in your answer to
       (d) the charges to date.                                              interrogatory 7.1 been repaired? If so, for each item state:
                                                                             (a) the date repaired;
 0     6.5 Have you taken any medication, prescribed or no~ as a
                                                                             (b)
                                                                             (c)
                                                                                 a description of the repair;
                                                                                 the repair cost;
       result of injuries that you attribute to the INCIDENT? If so,
       for each medication state:                                            (d) the name, ADDRESS, and telephone number of the
       (a) the name;                                                             PERSON who repaired it;
       (b) the PERSON who prescribed or furnished it;                        (e) the name, ADDRESS, and telephone number of the
       (c) the date it was prescribed or furnished;                               PERSON who paid for the repair.
       (d) the dates you began and stopped taking it; and
       (e) the cost to date.                                           8.0 Loss of Income or Earning Capacity
                                                                       0     8.1 Do you attribute any loss of income or earning capacity
 0     6. 6 Are there any other medical services necessitated by             to the INCIDENT? (if your answer is "no," do not answer
       the injuries that you attribute to the INCIDENT that were not         interrogatories 8.2 through 8.8).
       previously listed (for example, ambulance, nursing,
       prosthetics)? If so, for each service state:
       (a} the nature;
                                                                             8.2 State:
       (b) the date;                                                         (a) the nature of your work;
                                                                             (b) your job title at the time of the INCIDENT; and
       (c) the cost; and
                                                                             (c) the date your employment began.
       (d) the name, ADDRESS, and telephone number
           of each provider.                                           0     8.3 State the last date before the INCIDENT that you
                                                                             worked for compensation.
0     6.7 Has any HEALTH CARE PROVIDER advised that you
      may require future or additional treatment for any injuries      0     8.4 State your monthly income at the time of the INCIDENT
      that you attribute to the INCIDENT? If so, for each injury             and how the amount was calculated.
      state:
      (a) the name and ADDRESS of each HEALTH CARE
          PROVIDER;
                                                                       IZJ   8.5 State the date you returned to work at each place of
                                                                             employment following the INCIDENT.
      (b) the complaints for which the treatment was advised; and
      (c) the nature, duration, and estimated cost of the
          treatment.
                                                                       0     8.6 State the dates you did not work and for which you lost
                                                                             income as a result of the INCIDENT.
7.0 Property Damage
                                                                       0     8.7 State the total income you have lost to date as a result
0     7.1 Do you attribute any loss of or damage to a vehicle or             of the INCIDENT and how the amount was calculated.
      other property to the INCIDENT? If so, for each item of
      property:                                                        0     8.8 Will you lose income in the future as a result of the
      (a) describe the property;                                             INCIDENT? If so, state:
      (b) describe the nature and location of the damage to the              {a) the facts upon which you base this contention;
          property;                                                          (b) an estimate of the amount;
                                                                             (c) an estimate of how long you will be unable to work; and
                                                                             (d) how the claim for future income is calculated.




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                                                                                                                            DISC-001
 9.0 Other Damages                                                          (c) the court, names of the parties, and case number of any
                                                                                action filed;
0      9.1 Are there any other damages that you attribute to the            (d) the name, ADDRESS, and telephone number of any
       INCIDENT? If so, for each item of damage state:
                                                                                attorney representing you;
       (a) the nature;
                                                                            (e) whether the claim or action has been resolved or is
       (b) the date it occurred;
       (c) the amount; and                                                      pending; and
       (d) the name, ADDRESS, and telephone number of each                  (f) a description ofthe injury.
           PERSON to whom an obligation was incurred.
                                                                              11.2 In the past 10 years have you made a written claim or
                                                                              demand for workers' compensation benefits? If so, for each
0      9.2 Do any DOCUMENTS support the existence or amount                  claim or demand state:                          ·
       of any item of damages claimed in interrogatory 9.1? If so,           (a) the date, time, and place of the INCIDENT giving lise to
       describe each document and state the name, ADDRESS,                        the claim;
       and telephone number of the PERSON who has each                       (b) the name, ADDRESS, and telephone number of your
       DOCUMENT.                                                                  employer at the time of the injury;
                                                                              (c) the name, ADDRESS, and telephone number of the
                                                                                  workers' compensation insurer and the claim number;
10.0 Medical History                                                         (d) the period of time during which you received workers'
0      10.1 At any time before the INCIDENT did you have com-                     compensation benefits:
       plaints or injuries that involved the same part of your body         . (e) a description of the injury;
       claimed to have been injured in the INCIDENT? If so, for              (f) the name, ADDRESS, and telephone number of any
       each state:                                                                HEALTH CARE PROVIDER who provided services; and
       (a) a description of the complaint or injury;                         (g) the case number at the Workers' Compensation Appeals
       (b) the dates it began and ended; and                                      Board.
       (c) the name, ADDRESS, and telephone number of each
           HEALTH CARE PROVIDER whom you consulted or                   12.0 Investigation-General
           who examined or treated you.
                                                                        0   12.1 State the name, ADDRESS, and telephone number of
                                                                            each individual:
0      10:2 Ljst all_physlcal, mental, and emotional disabilities you       (a) who witnessed the INCIDENT or the events occurring
       had immediately before the INCIDENT. (You may omit                       immediately before or after the INCIDENT;
       mental or emotional disabilities unless you attribute any            (b) who made any statement at the scene of the INCIDENT;
       mental or emotional injury to the INCIDENT.)                         (c) who heard any statements made about the INCIDENT by
                                                                                any individual at the scene; and
0      10.3 At any time after the INCIDENT, did you sustain
                                                                            (d) who YOU OR ANYONE ACTING ON YOUR BEHALF
       injuries of the kind for which you are now claiming
                                                                                claim has knowledge of the INCIDENT (except for
       damages? If so, for each incident giving rise to an injury
       state:                 .                                                 expert witnesses covered by Code of Civil Proced.ure
                                                                                section 2034).
      (a) the date and the place it occurred;
      (b) the name, ADDRESS, and telephone number of any
          other PERSON involved;
                                                                        0   12<2     Have YOU OR ANYONE ACTING ON YOUR
                                                                            BEHALF interviewed any individual concerning the
      (c) the nature of any injuries you sustained;                         INCIDENT? If so, for each individual state:
      {d) the name, ADDRESS, and telephone number of each                   (a) the name, ADDRESS, and telephone number of the
          HEALTH CARE PROVIDER Who you consulted or who
                                                                                individual interviewed;
          examined or treated you; and
                                                                            (b) the date of the interview; and
      (e) the nature ·afthe- treatment and its duration.
                                                                            (c) the name, ADDRESS, and telephone number of the
11.0 Other Claims and Previous Claims                                           PERSON who conducted the interview.

      11.1 Except for this action, in the past 10 years have you            12.3     Have YOU OR ANYONE ACTING ON YOUR
      filed an action or made a written claim or demand for                 BEHALF obtained a written or recorded statement from any
      compensation for your personal injuries? If so, for each              individual concerning the INCIDENT? If so, for each
      action, claim, or demand state:                                       statement state:
      (a) the date, time, and place and location (closest street            (a) the name, ADDRESS, and telephone number of the
           ADDRESS or intersection) of the INCIDENT giving rise                 individual from whom the statement was obtained;
          to the action, claim, or demand;                                  (b) the name, ADDRESS, and telephone number of the
      (b) the name, ADDRESS, and telephone number of each                       individual who obtained the statement;
          PERSON against whom the claim or demand was made                  (c) the date the statement was obtained; and
          or the action filed;                                              (d) the name, ADDRESS, and telephone number of each
                                                                                PERSON who has the original statement or a. copy.




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                                                                                                                             OISC-001
 0      12.4    Do YOU OR ANYONE ACTING ON YOUR BEHALF                 0   13.2 Has a written report been prepared on the
        know of any photographs, films, or videotapes depicting any        surveillance? If so, for each written report state:
        place, object, or individual concerning the INCIDENT or            (a) the title;
        plaintiffs injuries? If so, state:                                 (b) the date;
        (a) the number of photographs or feet of film or videotape;         (c) the name, ADDRESS, and telephone number of the
        (b) the places, objects, or persons photographed, filmed, or            individual who prepared the report; and
            videotaped;                                                    (d) the name, ADDRESS, and telephone number of each
        (c) the date the photographs, films, or videotapes were                 PERSON who has the original or a copy.
            taken; .                                                   14.0 Statutory or Regulatory VIolations
        (d) the name, ADDRESS, and telephone number of the
            individual taking the photographs, films, or videotapes;   0   14.1 Do YOU OR ANYONE ACTING ON YOUR BEHALF
            and                                                            contend that any PERSON involved in the INCIDENT
        (e) the name, ADDRESS, and telephone number of each                violated any statute, ordinance, or regulation and that the
            PERSON who has the original or a copy of the                   violation was a legal (proximate) cause of the INCIDENT? If
            photographs, films, or videotapes.                             so, identify the name, ADDRESS, and telephone number of
                                                                           each PERSON and the statute, ordinance, or regulation that
 [ZJ    12.5 Do YOU OR ANYONE ACTING ON YOUR BEHALF                        was violated.
       know of any diagram, reproduction, or model of any place or
       thing (except for items developed by expert witnesses
                                                                       0   14.2 Was any PERSON cited or charged with a violation of
                                                                           any statute, ordinance, or regulation as a result of this
       covered by Code of Civil Procedure sections 2034.21Q-
                                                                           INCIDENT? If so, for each PERSON state:
       2034.310) concerning the INCIDENT? If so, for each item
       state:                                                              (a) the name, ADDRESS, and telephone number of the
                                                                               PERSON;
       (a) the type (i.e., diagram, reproduction, or model);               (b) the statute, ordinance, or regulation allegedly violated;
       (b) the subject matter; and
                                                                           (c) whether the PERSON entered a plea in response to the
       (c) the name, ADDRESS, and telephone number of each
                                                                               citation or charge and, if so, the plea entered; and
           PERSON who has it.
                                                                           (d) the name and ADDRESS of the court or administrative
0      12.6 Was a report made by any PERSON concerning the                     agency, names of the parties, and case number.
       INCIDENT? If so, state:
                                                                       15.0 Denials and Special or Affirmative Defenses
       (a) the name, title,. identification number, and employer of
           the PERSON who made the report;                             0   15.1 Identify each denial of a material allegation and each
       (b) the date and type of report made;                               special or affirmative defense in your pleadings and for
       (c) the name, ADDRESS, and telephone number of the                  each:
           PERSON for whom the report was made; and                        (a) state all facts upon which you base the denial or special
       (d) the name, ADDRESS, and telephone number of each                     or affirmative defense;
           PERSON who has the original or a copy of the report.            (b) state the names, ADDRESSES, and telephone numbers
                                                                               of all PERSONS who have knowledge of those facts;
0      12.7 Have YOU OR ANYONE ACTING ON YOUR                                  and
                                                                           (c) identify all DOCUMENTS and other tangible things that
       BEHALF inspected the scene of the INCIDENT? If so, for
       each inspection state:                                                  support your denial or special or affirmative defense, and
                                                                               state the name, ADDRESS, and telephone number of
       (a) the name, ADDRESS, and telephone number of the                      the PERSON who has each DOCUMENT,
           individual making the inspection (except for expert
                                                                       16.0 Defendant's Contentions-Personal Injury
           witnesses covered by Code of Civil Procedure
           sections 2034.21Q-2034.310); and                            D   16.1 Do you contend that any PERSON, other than you or
       (b) the date of the inspection.                                     plaintiff, contributed to the occurrence of the INCIDENT or
                                                                           the injuries or damages claimed by plaintiff? If so, for each
13.0 Investigation-surveillance                                            PERSON:.
0      13.1 Have YOU OR ANYONE ACTING ON YOUR BEHALF                       (a) state the name, ADDRESS, and telephone number of
                                                                               the PERSON;
       conducted surveillance of any individual involved in the
       INCIDENT or any party to this action? If so, for each sur-          (b) state all facts upon which you base your contention;
       veillance state:                                                    (c) state the names, ADDRESSES, and telephone numbers
                                                                               of all PERSONS who have knowledge of the facts; end
       (a) the name, ADDRESS, and telephone number of the
                                                                           (d) identify all DOCUMENTS and other tangible things that
           individual or party;
                                                                               support your contention and state the name, ADDRESS,
       (b) the time, date, and place of the SUIVeillance;                      and telephone number of the PERSON who has each ·
       (c) the name, ADDRESS, and telephone number of the                      DOCUMENT or thing.
           individual who conducted the SUiveillance; and
       (d) the name, ADDRESS, and telephone number of each             D   16.2 Do you contend that plaintiff was not injured in the
           PERSON who has the original or a copy of any                    INCIDENT? If so:
                                                                           (a) state all facts upon which you base your contention;
           surveillance photograph, film, or videotape.
                                                                           (b) state the names, ADDRESSES, and telephone numbers
                                                                               of all PERSONS who have knowledge of the facts; and
                                                                           (c) identify all DOCUMENTS and other tangible things that
                                                                               support your contention and state the name, ADDRESS,
                                                                               and telephone number of the PERSON who has each
                                                                               DOCUMENT or thing.
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                                                                                                                             DISC-001
D 16.3         Do you contend that the injuries or the extent of the     D   16.8 Do you contend that any of the costs of repairing the
      injuries claimed by plaintiff as disclosed in discovery                property damage claimed by plaintiff in discovery
      proceedings thus far in this case were not caused by the               proceedings thus far in this case were unreasonable? If so:
      INCIDENT? If so, for each injury:                                      (a) identify each cost Item;
      (a) identify it;                                                       (b) state all facts upon which you base your contention;
      (b) state all facts upon which you base your contention;               (c) state the names, ADDRESSES, and telephone numbers
      (c) state the names, ADDRESSES, and telephone numbers                      of all PERSONS who have knowledge of the facts; and
          of all PERSONS who have knowledge of !he facts; and                (d) identify all DOCUMENTS and other tangible things that
      (d) identify all DOCUMENTS and other tangible things that                  support your contention and state the name, ADDRESS,
          support your contention and state the name, ADDRESS,                   and telephone number of the PERSON who has each
          and telephone number of the PERSON who has each                         DOCUMENT or thing.
          DOCUMENT or thing.

D 16.4 Do you contend that any of the services furnished by              0   16.9 Do YOU OR ANYONE ACTING ON YOUR BEHALF
                                                                             have any DOCUMENT (for example, insurance bureau
      any HEALTH CARE PROVIDER claimed by plaintiff in
                                                                             Index reports) concerning claims for personal injuries made
      dis.covery proceedings thus far in this case Were not due to
                                                                             before or after the INCIDENT by a plaintiff in this case? If
      the INCIDENT? If so:                                                   so, for each plaintiff state:
      (a) identify each service;                                             (a) the source of each DOCUMENT;
      (b) state all facts upon which you base your contention;
                                                                             (b) the date each claim arose;
      (c) state the. names, ADDRESSES, and telephone numbers
           of all PERSONS who have knowledge of the facts; and               (c) the nature of each claim; and
      (d) identify all DOCUMENTS and ·other tangible things that             (d) the name, ADDRESS, and telephone number of the
                                                                                 PERSON who has each DOCUMENT.
           support your contention and state the name, ADDRESS,
           and telephone number of the PERSON who has each
           DOCUMENT or thing.
                                                                         0   16.10 Do YOU OR ANYONE ACTING ON YOUR BEHALF
                                                                             have any DOCUMENT concerning the past or present
                                                                             physical, mental, or emotional condition of any plaintiff in
D 16.5       Do you contend that any of the costs of services                this case from a HEALTH CARE PROVIDER not previously
      furnished by any HEALTH CARE PROVIDER claimed as                       identified (except for expert witnesses covered by Code of
      damages by plaintiff _in discovery proceedings thus far in             Civil Procedure sections 2034.210-2034.310)? If so, for
      this case were not necessary or unreasonable? If so:                   each plaintiff state:
       (a) identify each cost;                                               (a) the name, ADDRESS, and telephone number of each
       (b) state all facts upon which you base your contention;                  HEALTH CARE PROVIDER;
       (c) state the names, ADDRESSES, and telephone numbers                 (b) a description of each DOCUMENT; and
           of all PERSONS who have knowledge of the facts; and
                                                                             (c) the name, ADDRESS, and telephone number of the
       (d) identify all DOCUMENTS and other tangible things that                 PERSON who has each DOCUMENT.
           support your contention and state the name, ADDRESS,
           and telephone number of the PERSON who has each               17.0 Responses to Request for Admissions
           DOCUMENT or thing.
                                                                         0   17.1 Is your response to each request for admission served
 D 16.6      Do you contend that any part of the loss of earnings or         with these interrogatories an unqualified admission? If not,
      income claimed by plaintiff in discovery proceedings thus far          for each re~ponse that is not an unqualifie-d admission:
      in this case was unreasonable or was not caused by the
                                                                             (a_} state the number of the request;
      INCIDENT? If so:                                                       {b) state all facts upon which you base your response:
      (a) identify each part of the loss:                                    (c) atate the namea, ADDRESSES, and telephone- numbera
      (b) state all facts upon which you base your contention:                   of all PERSONS who have knowledge of those facts;
      (c) state the names, ADDRESSES, and telephone numbers                      and
          of all PERSONS who have knowledge of the facts; and                (d) identify all DOCUMENTS and other tangible things that
      (d) identify all DOCUMENTS and other tangible things that                  support your response and state the name, ADDRESS,
          support your contention and state the name, ADDRESS,                   and telephone number of the PERSON who has each
          and telephone number of the PERSON who has each                        DOCUMENT or thing.
          DOCUMENT or thing.
                                                                         18.0 {Reserved]
D      16.7   Do you contend that any of the property damage
                                                                         19.0 {Reserved]
       claimed by plaintiff in discovery Proceedings thus far in· this
       case was not caused by the INCIDENT? If so:                       20.0 How the Incident Occurred-Motor Vehicle
       (a) identify each item of property damage;
       (b) state all facts upon whic_h you base your contention;         D   20.1 State the date, time, and place of the INCIDENT
       (c) state the names, ADDRESSES, and telephone numbers                 (closest street ADDRESS or intersection).
           of all PERSONS who have knowledge of the facts; and
       (d) identify all DOCUMENTS and other tangible things that         D   20.2 For each vehicle Involved in the INCIDENT, state:
           support your contention and state the name, ADDRESS,              (a) the year, make, model, and license number;
           and telephone number of the PERSON who has each                   (b) the name, ADDRESS, and telephone number of the
           DOCUMENT or thing.                                                    driver:

                                                                                                                                 Page 7 of B
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        (c) the name, ADDRESS, and telephone number of each                  (d) state the name, ADDRESS, and telephone number of
            occupant other than the driver;                                      each PERSON who has custody of each defective part.
        (d) the name, ADDRESS, and telephone number of each
             registered owner;                                           0   20.11 State the name, ADDRESS, and telephone number of
        (e) the name, ADDRESS, and telephone number of each                  each owner and each PERSON who has had possession
            lessee;                                                          since the INCIDENT of each vehicle involved in the
        (f) the name, ADDRESS, and telephone number of each                  INCIDENT.
            owner other than the registered owner or- lien holder;
            and
                                                                         25.0 [Reserved]
        (g) the name of each owner who gave pennission or
             consent to the driver to operate the vehicle.               30.0 [Resetved]
 0     20.3 State the ADDRESS and location where your trip               40.0 [Reserved]
       began and the ADDRESS and location of your destination.
                                                                         50.0 Contract

 0     20.4 Describe the route that you followed from the
       beginning of your trip to the location of the INCIDENT, and
                                                                         0   50.1 For each agreement alleged in the pleadings:
                                                                             (a) identify each DOCUMENT that is part of the agreement
       state the location of each stop, other than routine traffic               and for each state the name, ADDRESS, and telephone
       stops, during the trip leading up to the INCIDENT.                        number of each PERSON who has the DOCUMENT;
                                                                             (b) state each part of the agreement not in writing, the
 0     20.5 State the name of the street or roadway, the lane of                 name, ADDRESS, and telephone number of each
       travel, and the direction of travel of each vehicle involved in           PERSON agreeing to that provision, and the date that
       the INCIDENT for the 500 feet of travel before the                        part of the agreement was made;
       INCIDENT.                                                             (c) identify all DOCUMENTS that evidence any part of the
0      20.6 Did the INCIDENT occur at an intersection? If so,                    agreement not in writing and for each state the name,
       describe all traffic control devices, signals, or signs at the            ADDRESS, and telephone number of each PERSON
       intersection.                                                             who has the DOCUMENT;
                                                                             (d) identify all DOCUMENTS that are part of any
                                                                                 modification to the agreement, and for each state the
0      20.7 Was there a traffic signal facing you at the time of the
                                                                                 name, ADDRESS, and telephone number of each
       INCIDENT? If so, state:
                                                                                 PERSON who has the DOCUMENT;
       (a) your location when you first saw it;
                                                                             (e) state each modification not in writing, the date, and the
       (b) the color;
                                                                                 name, ADDRESS, and telephone number of each
       (c) the number of seconds it had been that color; and                     PERSON agreeing to the modification, and the date the
       (d) whether the color changed between the time you first                  modification was made;
           saw it and the INCIDENT,                                          (f) identify all DOCUMENTS that evidence any modification
                                                                                 of the agreement not in writing and for each state the
0     20.8 State how the INCIDENT occurred, giving the speed,                    name, ADDRESS, and telephone number of each
      direction, and location of each vehicle involved:                          PERSON who has the DOCUMENT.
      (a) just before the INCIDENT;
      (b) at the time of the INCIDENT; and (c) just                      D   50.2 Was there a breach ·of any agreement alleged in the
           after the INCIDENT.                                               pleadings? If so, for each breach describe and give the date
                                                                             of every act or omission that you claim is the breach of the
                                                                             agreement.
0     20.9 Do you have information that a malfunction or defect in
      a vehicle caused the iNCIDENT? If so:                              D   50.3 Was performance of any agreement alleged in the
      (a) identify the vehicle;                                              pleadings excused? If so, identify each agreement excused
                                                                             and state why perfonnance was excused.
      (b) identify each malfunction or defect;
      (c) state the name, ADDRESS, and telephone number of
          each PERSON who is a witness to or has information
                                                                         0   50.4 Was any agreement alleged in the pleadings terminated
                                                                             by mutual agreement, release, accord and satisfaction, or
          about each malfunction or defect; and
                                                                             novation? If so, Identify each agreement terminated, the date
      (d) state the name, ADDRESS, and telephone number of                   of termination, and the basis of the termination.
          each PERSON who has custody of each defective part.

                                                                         0   50.5 Is any agreement alleged in the pleadings unenforce-
0     20.10 Do you have information that any malfunction or                  able? If so, identify each unenforceable agreement and
      defect in a Vehicle contributed to the injuries sustained in the       state why it is unenforceable.
      INCIDENT? If so:
      (a) identify the vehicle;                                          0   50.6 Is any agreement alleged in the pleadings ambiguous?
      (b) identify each malfunction or defect;                               If so, identify each ambiguous agreement and state why it is
      (c) state the name, ADDRESS, and telephone number of                   ambiguous.
          each PERSON who is a witness to or has information
          about each malfunction or defect; and                          60.0 [ReseNed]

OISC.001 [Rev. January 1, 2008}                                                                                                  Page8of8
                                                 FORM INTERROGATORIES-GENERAL
   Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 31 of 45 Page ID #:31




      I   TARG-0490                              PROOF OF SERVICE
                                          Karla Castaneda v. Target Corporation
      2                                          Case No. 20STCV00470
      3    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

      4          I am employed in the County of Los Angeles, State of California. I am over the age of 18
          years and ain not a party to this action. My business address is 310 Golden Shore, Fourth Floor,
      5   Long Beach, California 90802.

      6            On March 12, 2021, I served the foregoing document described as JUDICIAL FORM
           INTERROGATORIES on interested parties in this action by placing a true copy thereof enclosed
      7    in sealed envelopes as follows:
      8           SEE ATTACHED SERVICE LIST

      9
                  (By U.S. Mail) I am readily familiar with my employer's business practice for collection and
     10           processing of correspondence for mailing with the United States Postal Service. I am aware
                  that on motion of the party served, service is presumed invalid if postal cancellation date or
     11           postage meter is more than one day after date of deposit for mailing in affidavit. I deposited
                  such envelope(s) with postage thereon fully prepaid to be placed in the United States Mail at
     12           Long Beach, California.                                   ·

     13   D      (ByFacsimile) I served a true and correct copy by facsimile pursuant to C.C.P. 1013(e),
                 calling for agreement and written confirmation of that agreement or court order, to the
     14          number(s) listed above or on attached sheet. Said transmission was reported complete and
                 without error.
     15
          D      (By Personal Service) I caused to be delivered by hand by                         to the
     16          interested parties in this action by placing the above mentioned document(s) thereof in
                 envelope addressed to the office of the addressee(s) listed above or on attached sheet.
     17   D      (By Overnight Courier) I served the above referenced document(s) enclosed in a sealed
     18          package, for collection and for delivery marked for next day delivery in the ordinary course of
                 business, addressed to the office of the addressee(s) listed above or on attached sheet.
     19
                 (By E-Mail) I transmitted a copy of the foregoing documents(s) via e-mail to the
     20          addressee(s).

     21           (State) I declare under penalty of perjury under the laws of the State of California that the
                  foregoing is true and correct.
     22
          D       (Federal) I declare that I am employed in the office of a member of the Bar of this Court, at
     23           whose direction the service was made. I declare under penalty of perjury under the laws of
                  the United States of America that the foregoing is true and correct.
     24
                  Executed on March 12, 2021, at Long Beach, California.
    25

    26                                                               LETI GUTIERREZ

    27

    28



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Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 32 of 45 Page ID #:32




       TARG-0490                  Karla Castaneda v. Target Corporation
   1                                     Case No. 20STCV00470
   2

   3                                         SERVICE LIST

   4
       Attorneys for Plaintiff
   5
       Kyle Madison, Esq.
   6   MADISON LAW GROUP
       IIIII Santa Monica Blvd., Suite 100
   7   Los Angeles, California 90025
   8
       Telephone:    310-201-7676
   9   Facsimile:    310-744-0111
       E-Mail:       kyle@madisortlawgroup.com
  10

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       TARG-0490
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Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 33 of 45 Page ID #:33




                        EXHIBIT ''E''
Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 34 of 45 Page ID #:34




           MADISON LAW GROUP
       1
           KYLE MADISON (State Bar No. 198484)
       2   11111 Santa Monica Boulevard, Suite 100
           Los Angeles, California 90025
       3   Phone: (310) 201-76761 Fax: (310) 744-0111
       4
           Attorneys for Plaintiff: Karla Castaneda
       5
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
       6
                                            COUNTY OF LOS ANGELES
       7
       8
           KARLA CASTANEDA,             )                       CASE NO.:         21STCV00470
       9                                )
                   Plaintiff,           )                       PLAINTIFF'S RESPONSES TO
      10 vs.                            )                       DEFENDANT'S FORM
                                        )                       INTERROGATORIES, [SET ONE]
      11
          TARGET CORPORATION and DOES 1 )
         through 20, inclusive,         )
                                        )
                   Defendants.          )
         ~----------------------)


           PROPOUNDING PARTY:             Defendants, TARGET CORPORATION

           RESPONDING PARTY:              Plaintiff, KARLA CASTANEDA

           SET NO.                        ONE


                    Plaintiff; KARLA CASTANEDA hereby serves Responses to Form Interrogatories Set
      20
           One propounded by Defendant TARGET CORPORATION pursuant to C. Civ. Proc. §2030.010,
      21
           as follows:
      22
                                            PRELIMINARY STATEMENT
      23
                    These responses are made solely for the purposes of this action. Each answer is subject to
      24
           any and all objections as to competence, relevance, materiality, propriety and admissibility; any and
      25
           all other objections on grounds that would require exclusion of any statement contained herein if any
      26
           interrogatories were asked of, or any statement contained herein were made by, a witness present and
      27
           testifying in court, all of which objections and grounds are reserved and may be interposed at the
      28
           time of trial.

                             PLAINTIFF'S RESPONSES TO DEFENDANT'S FORM INTERROGATORIES,
                                                       [SET ONE]
Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 35 of 45 Page ID #:35




      21
            RESPONSE TO FORM INTERROGATORY NO. 6.1:
      22
                  Yes.
      23
           RESPONSE TO FORM INTERROGATORY NO. 6.2:
      24
                  Plaintiff suffered from neck, back, right shoulder, right hip, and right elbow pain
      25
           immediately following the incident, which is the bases of this litigation.
      26
           RESPONSE TO FORM INTERROGATORY NO. 6.3:
      27         OBJECTION: Plaintiff objects to this interrogatory as burdensome and harassing in
      28   that it calls for a production of a list or summary where no such list or summary presently


                                                            5
                            PLAINTIFF'S RESPONSES TO DEFENDANT'S FORM INTERROGATORIES,
                                                      [SET ONE]
         Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 36 of 45 Page ID #:36




                            exists. C.C.P. §2030(f)(2); Brotsky v. State Bar of California, 57 Ca/.2d 287. Plaintiff has
                        1
                            identified all health care providers who treated her for her injuries. The request for a narration
                        2
                            of the date and nature of the treatment and injuries received is improper because it actually
                        3
                            seeks the contents of documents available to the defendant. As such, the question is burdensome
                        4
                            and oppressive, West Pica Furniture Co. v. Superior Court, 56 Ca/.2d 407, 418-419. This
                        5   impermissibly invades Responding Party's constitutional right to privacy. Without waiving
                        6   these objections, Plaintiffs responds as follows:
                        7
                                    (a) 1. Neck still continues to cause plaintiff pain 3-4 times a week. Pain can be mild to
                        8
                                       severe, depending on the day.
                        9
                                       2. Plaintiff continues to suffer from back pain 3-4 times a week when over exerting
                       10
                                       self, such as standing, walking, and bending for extended amounts of time.
                       11
                                       3. Plaintiff continues to suffer from right shoulder pain 3-4 times a week. Pain can
     0
     0                 12

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                                       be mild to severe, depending on usage.
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                                    (b- c) The complaints to the above regions remain the same and occur 3-4 times a
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                                   week.
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                            RESPONSE TO FORM INTERROGATORY NO. 6.4:
~o=~c:J~               16         OBJECTION: Plaintiff objects to this interrogatory as burdensome and harassing in
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~0~0                   17   that it calls for production of a list or summary where no such list or summary presently exists.
~:>:"'"'
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:;:;;;..-<-                 C.C.P. §2030(f)(2); Brotsky v. State Bar of California, 57 Ca/.2d 287. Plaintiff has identified
    Z"'"'
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                       18
     UJH~                   all health care providers who treated her for this injury. The request for a narration of the date
    --          0
                0:
               0..
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                       20
                            and nature of the treatment and injuries received is improper because it actually seeks the
                            contents of documents available to the defendant. As such, the question is burdensome and
                       21
                            oppressive, West Pica Furniture Co. v. Superior Court, 56 Ca/.2d 407, 418-419. This
                       22   impermissibly invades Responding Party's constitutional right to privacy. Without waiving
                       23   these objections, Plaintiffs responds as follows:
                       24
                                   (a- d) Newport Institute of Minimally Invasive Surgery:
                       25
                                           455 Old Newport Blvd. Ste. 100 Newport beach, CA 92663.
                       26
                                           Phone No. (949) 585-2282
                       27
                                           Treatment Date: 12/27/2019
                       28
                                           Bill: $25,950.00

                                                                                6
                                             PLAINTIFF'S RESPONSES TO DEFENDANT'S FORM INTERROGATORIES,
                                                                       [SET ONE]
          Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 37 of 45 Page ID #:37




                      1          (a- d) Precise Imaging:
                      2                 6710 Kester Ave., Ste. 126 Van Nuys, CA 91405

                      3                 Phone No. (818) 907-7723
                      4                 Treatment Dates: 1113/2019

                      5                 Bill: $4,400.00

                      6          (a- d) Hunt Chiropractic, Inc.:

                      7                 12900 Paramount Blvd. Downey, CA 90242

                      8                 Phone No. (562) 923-6330

                      9                 Treatment Dates: 10/15/2019, 10/16/2019, 10/17/2019, 10/21/2019, 10/22/2019,

                     10   10/23/2019, 10/24/2019, 10/28/2019, 10/29/2019, 10/30/2019, 11104/2019, 11/05/2019,

                     11   11/06/2019, 1111112019, 11112/2019, 11113/2019, 11/14/2019, 11/25/2019, 11126/2019,
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              12          12/03/2019, 12/04/2019, 12/05/2019, 12/10/2019, 12/17/2019, 12/18/2019, 12/19/2019,
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              13          12/30/2019, 12/3112019, 1/07/2020, 1/08/2020, 1/09/2020, 1114/2020, 1/15/2020, 1116/2020,
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                     14   112112020, 1123/2020, 1127/2020, 1128/2020, 1/29/2020, 1130/2020, and 2/03/2020.
o&;12~               15                 Bill Amount: $12,136.00
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                     16          (a- d) Sonny Rubin, M.D.:
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                     17                 PO Box 2942 Newport Beach, CA 92659
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~:zr/);:;;           18                 Phone No. (949) 933-7012
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    -        15      19                 Treatment Dates: 12/03/2019, 12/10/2019, 12/27/2019, 1114/2020, 1128/2020,
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                     20   2/12/2020, 3/10/2020, 5/8/2020, 5/14/2020, 5/19/2020, 6/9/2020, and 8/25/2020.

                     21                 Bill Amount: $22,250.00

                     22          (a - d) Irvine Anesthesia:

                     23                 PO Box 53722 Irvine, CA 92619

                     24                 Phone No. (951) 699-0303

                     25                 Treatment Dates: 12/27/2019

                     26                 Bill Amount: $1,770.00

                     27          (a - d) Sonoran Anesthesia, LLC.:

                     28                 455 Old Newport Blvd. Ste. 100 Newport Beach, CA 92663.

                                                                        7
                                          PLAINTIFF'S RESPONSES TO DEFENDANT'S FORM INTERROGATORIES,
                                                                    [SET ONE]
            Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 38 of 45 Page ID #:38




                            1                   Phone No. (949) 585-2282
                            2                  Treatment Dates: 2/12/2020 and 5/08/2020
                            3                   Bill Amount: $5,240.00
                            4   RESPONSE TO FORM INTERROGATORY NO. 6.5:
                                      OBJECTION: Plaintiff objects to this interrogatory as burdensome and harassing in
                            5
                                that it calls for production of a list or summary where no such list or summary presently exists.
                            6
                                C.C.P. §2030(f)(2); Brotsky v. State Bar of California, 57 Cal.2d 287. Plaintiff has identified
                            7
                                all health care providers who treated her for this injury. The request for a narration of the date
                            8
                                and nature of the treatment and injuries received is improper because it actually seeks the
                            9   contents of documents available to the defendant. As such, the question is burdensome and
                           10   oppressive, West Pica Furniture Co. v. Superior Court, 56 Cal.2d 407, 418-419. This
                           11   impermissibly invades Responding Party's constitutional right to privacy. Without waiving

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                                these objections, Plaintiffs responds as follows: Plaintiff was provided the following medication
                                during her treatment.
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      -< 2                 14           (a) 1: Tylenol
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         "' ::!            15              2: Tiger Balm Ointment/Patches
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               ~\0         16              3: Motrin
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V)   z      .....l .....
-0  w 0                    17          (b - d) Medications numbered above were taken over the counter and have been taken
~:>:""'
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                           18          from October 10, 2019 to present
     ~H~
                           19          (e) After a diligent search and inquiry, plaintiff was unable to locate the out of pocket
                   """     20              cost of the aforementioned medication, plaintiff will supplement upon the retrieval

                           21              of said request.

                           22   RESPONSE TO FORM INTERROGATORY NO. 6.6:
                                      OBJECTION: Plaintiff objects to this interrogatory as burdensome and harassing in
                           23
                                that it calls for production of a list or summary where no such list or summary presently exists.
                           24
                                C.C.P. §2030(f)(2); Brotsky v. State Bar of California, 57 Cal.2d 287. Plaintiff has identified
                           25
                                all health care providers who treated her for this injury. The request for a narration of the date
                           26   and nature of the treatment and injuries received is improper because it actually seeks the
                           27   contents of documents available to the defendant. As such, the question is burdensome and
                           28   oppressive, West Pica Furniture Co. v. Superior Court, 56 Cal.2d 407, 418-419. This

                                                                                 8
                                                 PLAINTIFF'S RESPONSES TO DEFENDANT'S FORM INTERROGATORIES,
                                                                           [SET ONE]
    Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 39 of 45 Page ID #:39




              impermissibly invades Responding Party's constitutional right to privacy. Without waiving
          1
              these objections, Plaintiffs responds as follows:
          2
          3           (a- c) No other medical services were necessitated bythe injuries attributing to this

          4   incident at this time.

          5   RESPONSE TO FORM INTERROGATORY NO. 6.7:

          6           OBJECTION: This interrogatory is overly broad, oppressive, burdensome and

          7   calculated to annoy and harass Plaintiff; that this interrogatory calls for the production of a list

          8   or summary where no such list or summary presently exists. C.C.P. Section 2030(£)(2); Brotsky

          9   v. State of California, 57 Cal.2d 287. This impermissibly invades Responding Party's

         10   constitutional right to privacy. Without waiving said objections, Plaintiff responses as follows:

         11           (a- c) Dr. Sonny Rubin recommended epidural injections to plaintiff if and when pain


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0        12   worsens.
          Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 40 of 45 Page ID #:40




                   1   RESPONSE TO FORM INTERROGATORY NO. 14.1:

                   2                  No.

                   3   RESPONSE TO FORM INTERROGATORY NO. 14.2:

                   4                  No.

                   5          Without waiving said responses, Plaintiff responds as follows: Since discovery,

                   6   investigation and trial preparation are currently in progress and have not yet been completed,

                   7   the foregoing responses shall in no way be construed to prohibit or limit this answering party

                   8   from producing new or additional documents, facts or evidence or producing new or additional

                   9   facts, contentions or theories at subsequent hearings or at the time of trial if such new or

                  10   additional information later becomes available.

                  11          Investigation and discovery are continuing; therefore, Plaintiff reserves the right to
    0
    ;:;           12   supplement all discovery responses up to, and including the time of trial, as additional facts are
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    GlN:;:j:'     13   ascertained, analyses are made, research is completed, documents are obtained and contentions
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                  14   are made.
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                                                                  Attorney for Plaintiff: KARLA CASTANEDA
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                                        PLAINTIFF'S RESPONSES TO DEFENDANT'S FORM INTERROGATORIES,
                                                                  [SET ONE]
         Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 41 of 45 Page ID #:41




                                                                    PROOF OF SERVICE
                 1
                 2          I am over the age of 18 and not a party to the within action. I am employed in the County of Los
                     Angeles, State of California. My business address is 11111 Santa Monica Boulevard, Suite 100, Los
                 3   Angeles, California 90025.

                 4       On Aprill2, 2021, I served the following document(s) described as PLAINTIFF'S RESPONSES
                         TO DEFENDANT'S FORM INTERROGATORIES, [SET ONE] on the interested parties in
                 5
                         said action, by placing a true copy thereof to all other parties enclosed in sealed envelopes addressed as
                .6                                                         follows:

                 7   SEE ATTACHED SERVICE LIST

                 8   0             BY MAIL: I placed the envelope for collection and mailing, following our ordinary
                                   business practices. I am readily familiar with this business's practice for collecting and
                 9                 processing correspondence for mailing. On the same day that correspondence is placed
                                   for collection and mailing, it is deposited in the ordinary course of business with the
                10
                                   United States Postal Service, in a sealed envelope with postage fully paid.
                11
   0                 0             BY OVERNIGHT DELIVERY: I enclosed the documents in an envelope or
   ::;          12
                                   package provided by an overnight delivery carrier and addressed to the persons at the
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   Sl.rl..J.    13                 addresses on April __, 2021. I placed the envelope or package for collection and
  "'"'"
~18r--                             overnight delivery at an office or a regular utilized drop box of the overnight delivery
o~':;§'         14                 carrier.
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..(O.....l-          0             BY PERSONAL SERVICE: I personally delivered the documents to the person at
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                16                 the addresses listed on April __, 2021. Delivery was made to the attorney or at the
o-tG~                              attorney's office by leaving the documents, in an envelope or package clearly labeled
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~:E"'"'                            to identify the attorney being served, with a receptionist or an individual in charge of
<<zs
::;: ... <-     18                 the office, between the hours of nine in the morning and five in the evening.
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           ""
          0..                      BY FAX TRANSMISSION: Based on an agreement of the parties to accept service
                20                 by fax transmission, I faxed the documents to the persons at the fax numbers listed on
                                   April __, 2021. No error was reported by the fax machine that I used. A copy of the
                21                 record of the fax transmission, which I printed out, is attached.
                22   ll!l          BY ELECTRONIC SERVICE (EMAIL): Based on a court order or an agreement
                23                 of the parties to accept service by electronic transmission, I caused the document to be
                                   sent to the persons at the electronic notification addresses listed on Aprill2, 2021.
                24
                            ll!J   STATE:           I declare under penalty of peljury under the laws of the State of
                25                                  California that the foregoing is true and correct.
                26
                                   Executed on Aprill2, 2021, at Los Angeles, California.


                                                       ~-.~-..---~-
                27

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                                             PLAINTIFF'S RESPONSES TO DEFENDANT'S FORM INTERROGATORIES,
                                                                       [SET ONE]
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                                           SERVICE LIST
       1                         CASTANEDA v. TARGET CORPORATION
      2                                    Case No.: 21STCV00470

       3   R. Derek Classen, Esq. (SBN: 162805)            ll!IAttorney for Defendant, Target C01p.
           Prindle Goetz Barnes & Reinholtz, LLP.
       4   310 Golden Shore, 4'h Floor
       5   Long Beach, CA 90017
           Phone: (562) 436-3946
       6
           Email: Derek Classen: dclassen@prindlelaw.com
       7   Cc: Leti Gutierrez: lgutierrez@prindlelaw.com
       8

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                          PLAINTIFF'S RESPONSES TO DEFENDANT'S FORM INTERROGATORIES,
                                                    [SET ONE]
         Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 43 of 45 Page ID #:43




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                               PLAINTIFF'S RESPONSES TO DEFENDANT'S FORM INTERROGATORIES,
                                                         [SET ONE]
Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 44 of 45 Page ID #:44




 1   TARG-0490                          PROOF OF SERVICE
                                Karla Castaneda v. Target Corporation
 2                                     Case No. 20STCV00470
 3    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 4          I am employed in the County ofLos Angeles, State of California. I am over the
      age of 18 years and am not a party to this action. My business address is 310 Golden
 5    Shore, Fourth Floor, Long Beach, California 90802.                          .
 6            On May 7, 2021, I served the foregoing document described as NOTICE OF
      REMOVAL OF ACTION UNDER 28 U.S.C. §1441(b) [DIVERSITY] on
 7    interested parties in this action by placing a true copy thereof enclosed in sealed
      envelopes as follows:
 8
             SEE ATTACHED SERVICE LIST
 9

10           (By U.S. Mail) I am readily familiar with m)' employer's business practice for
             collection and processing of correspondence for mailmg with the United States
11           Postal Service. I am aware that on motion of the party served, service is
             r.resumed invalid if postal cancellation date or postage meter 1s more than one
12           uay after date of deposit for mailing in affidavit. I deposited such envelope(s)
             wil:h r.ostage thereon fully prepaid to be placed in the-United States Mail at
13           Long Beach, California.

14    D     (By Facsimile) I served a true and correct copy by facsimile pursuant to C.C.P.
            1013(e), calling for agreement and written confirmation of that l!greement or
15          court order, to the number(s) listed above or on attached sheet. Said
            transmission was reported complete and without error.
16
      D     (By Personal Service) I caused to be delivered by hand by
17          to the interested parties in this action by placing tlie above m·-=e=nx:-tl7on::ce=-=ar-----
            document(s) thereof in envelope addressed to the office of the addressee(s)
18          listed above or on attached sheet.

19    D     (By Overnight Courier) I served the above referenced document(s) enclosed
            in a sealed package, for collection and for delivery marked for next day delivery
20          in the ordinary course of business, addressed to the office of the addressee(s)
            listed above or on attached sheet.
21          (By E-Mail) I transmitted a copy of the foregoing documents(s) via e-mail to
            the addressee(s).                                          ·
22           (State) I declare under penalty of perjury under the laws of the State of
             California that the foregoing is true and correct.
23           (Federal) I declare that I am employed in the office of a member of the Bar of
             ihis Court, at whose direction the service was made. I declare under penalty of
24           perjury under the laws of the United States of America that the foregoing is true
             and correct.
25           Executed on May 7, 2021, at Long Beach, California.

26                                                            Let<~
                                                              LETI GUTIERREZ
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Case 2:21-cv-03898-SVW-GJS Document 1 Filed 05/07/21 Page 45 of 45 Page ID #:45




 1
     · TARG-0490                Karla Castaneda v. Tarf!et Corporation
                                     Case No. 20STCV00470
 2
 3                                      SERVICE LIST
 4
      Attorneys for Plaintiff
 5
 6    Kyle Madison, Esq.
      Christopher Levine, Esq.
 7    MADISON LAW GROUP
 8    11111 Santa Monica Blvd., Suite 100
      Los Angeles, California 90025
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      Chris@madisonlawgroup.com
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      TARG-0490
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